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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

United States of America,

       Plaintiff,

v.                                            Criminal Case No. 09-20215

Jose Castro-Ramirez,                          Honorable Sean F. Cox

      Defendant.
___________________________/

                             ORDER DENYING
              DEFENDANT’S MOTION FOR DEFERMENT OF PAYMENT

       On August 18, 2012, Defendant Jose Castro-Ramirez (“Defendant”) was sentenced to

168 months imprisonment. The Court also ordered Defendant to pay restitution in the amount of

$9,491,688.75, and pay an assessment of $1,300.00. (See Docket Entry No. 368). The Court

ordered that, while in custody, the defendant shall participate in the Inmate Financial

Responsibility Program.

       On November 5, 2012, Defendant filed a pro se “Motion for Deferment of Payment”

(Docket Entry No. 416), wherein he states that he has been making monthly payments of $75.00.



Defendant’s motion asserts that he “receives very little money from outside” – without

specifying the amounts he actually receives – and that he has expenses for copies, phone calls,

and other unspecified legal expenses “connected with his appeal.”1 Defendant’s motion asks this

Court to exercise its discretion and allow him to defer further payments of his restitution until he


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        Defendant’s direct appeal has already concluded.

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has completed his term of incarceration. Alternatively, he asks the Court to defer payments until

he files, and the Court rules upon, a motion under 28 U.S.C. § 2255.

       The Government filed a brief opposing the motion. The Government asserts that

Defendant is required to exhaust his administrative remedies with the Bureau of Prisons before

asking this Court to modify any payment plan under the Inmate Financial Responsibility

Program, and that Defendant has not shown that he has done so.

       The Court shall deny the motion. It does not appear that Defendant has exhausted

administrative remedies available to him. Moreover, even if this Court has the discretion to

order the requested relief before Defendant exhausts available administrative remedies, the Court

would decline to do so in this case.

       Accordingly, IT IS ORDERED that Defendant’s Motion for Deferment of Payment is

DENIED.

       IT IS SO ORDERED.


Dated: December 13, 2012                            S/ Sean F. Cox
                                                    Sean F. Cox
                                                    U. S. District Court Judge


I hereby certify that on December 13, 2012, the foregoing document was served upon counsel of
record by electronic means and upon Jose Castro-Ramirez by First Class Mail at the address
below:

Jose Castro-Ramirez
Reg No. 30835-039 / Unit 5703
Federal Correctional Institution
P. O. Box 2000
Fort Dix, NJ 08640


Dated: December 13, 2012                            S/ J. McCoy
                                                    Case Manager


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